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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION



    IN RE: ZANTAC (RANITIDINE)                                                MDL NO. 2924
    PRODUCTS LIABILITY LITIGATION                                              20-MD-2924

                                                             JUDGE ROBIN L. ROSENBERG
    ________________________________/                        MAGISTRATE JUDGE BRUCE E.
                                                             REINHART

    THIS DOCUMENT RELATES TO:

    Valdes v. Boehringer Ingelheim Pharmaceuticals, Inc., No. 9:23-cv-81560


              THE REMOVING DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                  MOTION TO REMAND PURSUANT TO 28 U.S.C. § 1447



    DATED: February 9, 2024
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           Defendants GlaxoSmithKline LLC, GlaxoSmithKline Holdings (Americas) Inc., Pfizer

    Inc., Boehringer Ingelheim Pharmaceuticals, Inc., Boehringer Ingelheim Corporation, Boehringer

    Ingelheim USA Corporation, Sanofi US Services Inc., and Sanofi-Aventis U.S. LLC (collectively,

    the “Removing Defendants”) submit this Opposition to Plaintiff’s Motion to Remand Pursuant to

    28 U.S.C. § 1447.

    I.     INTRODUCTION

           Diversity jurisdiction exists here. Plaintiff’s only claim against non-diverse defendant

    Publix Super Markets, Inc. (“Publix”) is a negligence count asserting that the retailer improperly

    stored and transported Zantac (ranitidine) despite knowing that the drug can degrade in hot and

    humid conditions. But Plaintiff failed to develop that claim during discovery. Despite a full

    opportunity to make out a case, Plaintiff presented no expert opinion—as Florida law requires—

    that Publix’s alleged negligence caused his mother’s injury. Nor did Plaintiff obtain any case-

    specific fact discovery concerning Publix, relying solely on general discovery taken in this MDL—

    discovery that failed to save similar negligent storage and transport claims from dismissal.

    Unsurprisingly, then, Plaintiff’s remand motion presents no evidence to support his argument that

    he has a possibility of recovery on the negligence claim against Publix.

           Without any such evidence, Plaintiff falls back on procedural arguments about the

    timeliness of the removal. But the case was timely removed within thirty (30) days after the last

    of Plaintiff’s causation experts was deposed and disclaimed any opinion as to Publix. The one-

    year bar on removal also does not apply, because Plaintiff acted in bad faith to prevent removal.

    Not only did Plaintiff fail completely to prosecute his claim against Publix, but he voluntarily

    dismissed identical negligence claims against three diverse retailers even though his mother

    allegedly bought Zantac from them just as with Publix. In short, it could not be clearer on this



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    record that Plaintiff’s naming of Publix was a sham aimed solely at destroying diversity

    jurisdiction. Accordingly, the Court should deny Plaintiff’s Motion to Remand.

    II.    FACTUAL BACKGROUND

           On September 27, 2021, Decedent Teresa Valdes filed this product liability lawsuit in the

    Circuit Court in and for Miami-Dade County, Florida, alleging that her Zantac use caused her to

    develop colorectal cancer. See generally Compl. [Dkt. 1-4]. 1 Decedent named as defendants

    (1) the Removing Defendants that marketed Zantac, and (2) the four retailers—Publix, CVS

    Pharmacy, Inc. (“CVS”), Walgreen Co. d/b/a Walgreens (“Walgreens”), and Walmart Inc. f/k/a

    Wal-Mart Stores, Inc. (“Wal-Mart”)—from which Decedent allegedly purchased Zantac. Publix

    was the only non-diverse defendant.

           On October 20, 2021, the Removing Defendants removed this action based on the face of

    the Complaint, alleging that Publix was fraudulently joined because the strict liability claim

    asserted against Publix was preempted and Decedent did not allege a negligent storage and

    transport claim against Publix. See Compl. [Dkt. 4-1]. On October 27, 2021, Decedent filed an

    amended complaint in federal court to add a negligent storage and transport claim against Publix.

    See Am. Compl. ¶¶ 131–133, 137–151, No. 1:21-cv-23711-RLR (S.D. Fla. Oct. 27, 2021) [ECF

    No. 5]. After this Court rejected the Removing Defendants’ argument that preemption was a basis

    for removal in another case, see In re Zantac (Ranitidine) Products Liability Litigation, 2022 WL

    708589, at *2 (S.D. Fla. Jan. 28, 2022), the Removing Defendants withdrew the removal notice in

    this case and agreed to remand. See Notice of Withdrawal of Defs.’ Notices of Removal, MDL

    No. 2924 (S.D. Fla. Mar. 1, 2022) [ECF No. 5356].


    1
     Citations to the individual docket, No. 9:23-cv-81560, are designated [Dkt. ##]. Citations to the
    MDL docket, MDL No. 2924, and to the previously removed docket, No. 1:21-cv-23711-RLR,
    are designated [ECF No. ##].

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           On July 27, 2022, Decedent passed away. See Fourth Am. Compl. ¶ 4 [Dkt. 1-1]. On

    October 4, 2022, Plaintiff—Decedent’s son and personal representative of her estate—filed an

    amended complaint. See Second Am. Compl. [Dkt. 4-13]. 2 Even though Decedent represented

    that she had purchased Zantac from Publix, CVS, Walgreens, and Wal-Mart in written discovery

    prior to her passing, 3 Plaintiff dropped the diverse retailers CVS, Walgreens, and Wal-Mart from

    the complaint—leaving Publix as the only retailer defendant. Plaintiff asserted only one claim

    against Publix: that it was “negligen[t] in shipping, transporting, distributing, and storing OTC

    Zantac.” Fourth Am. Compl. ¶ 262 [Dkt. 1-1]. 4 According to Plaintiff, Publix knew or should

    have known that ranitidine degrades into N-Nitrosodimethylamine (“NDMA”)—a potential

    human carcinogen—under high heat and humidity conditions, see id. ¶¶ 264–279, but failed to

    store and transport the drug properly. Id. ¶¶ 280, 282, 283, 286–295.




    2
      Decedent also filed an Amended Complaint on May 20, 2022, alleging claims of products liability
    – breach of warranty of merchantability, negligence, and strict liability against Publix, CVS,
    Walgreens, and Wal-Mart. See Am. Compl. ¶¶ 266–321 [Dkt. 4-11]. The products liability and
    strict liability claims against Publix were dropped in the Third Amended Complaint, filed on
    March 7, 2023.
    3
      See Pl.’s Objs. & Answers to Def. Sanofi-Aventis U.S. LLC’s First Set of Interrog. No. 7 (June
    2, 2022) [Dkt. 1-2] (“I bought Zantac from CVS, Walmart, Walgreens and Publix Super Markets
    in Hialeah, Kendall and Miami, Florida to treat/relieve heartburn.”); see also, e.g., 5/31/23
    Alexander Omar Valdes Dep. at 88:12–21 [Dkt. 4-3] (“Q. As you sit here today, do you recall
    ever being with your mother or witnessing her purchase Zantac? A. Yes. Q. Tell me how many
    times you recall it or generally what you recall? A. I remember buying, purchasing the Zantac at
    either Eckerds, Walgreens, Publix, I do remember. Q. Now, did you buy them or your mother
    buy them? A. She bought them.”); id. at 167:18–24 (“Q. And I believe also you earlier testified
    that your mother purchased Zantac from other groceries and pharmacy stores; is that correct? A.
    Yes. Q. Would you tell me what those stores are? A. Eckerds, Walgreens, CVS, and there were
    some—quite some others, but I can’t remember.”).
    4
      On March 3, 2023 and June 27, 2023, Plaintiff filed a Third Amended Complaint and Fourth
    Amended Complaint against the same defendants. See Third Am. Compl. [Dkt. 4-15]; Fourth Am.
    Compl. [Dkt. 1-1]. The negligent storage and transport allegations against Publix in the Second,
    Third, and Fourth Amended Complaints are substantially identical.
                                                    3
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           The parties continued to litigate the case. During fact discovery, Plaintiff served just one

    set of interrogatories and one set of requests for production on Publix, asking for general

    information about company policies. See Pl.’s Interrogs. [Dkt. 4-19]; Pl.’s Request for Production

    [Dkt. 4-20]. In response, Publix referred Plaintiff to discovery completed in the Zantac MDL but

    produced no additional documents in Plaintiff’s case. See Publix’s Answer to Interrogs. [Dkt. 4-

    21]; Publix’s Response to Request for Production [Dkt. 4-22]. At no point did Plaintiff follow up

    on the responses or seek case-specific discovery from Publix, e.g., information about the storage

    conditions at the individual Publix store where Decedent alleges to have purchased Zantac or the

    Publix trucks that shipped drugs to that location. Nor did Plaintiff seek any deposition from any

    Publix witness specific to the facts of this case. Fact discovery then closed on November 30, 2023.

    October 24, 2023 Second Agreed Amended Scheduling Order [Dkt. 1-6 at 1738-39].

           On November 1, 2023, Plaintiff disclosed three medical experts to testify that ranitidine

    caused Decedent’s colorectal cancer: Drs. Jack Goldberg, Steven B. Bird, and Nagi B. Kumar.

    See Pl.’s Expert Witness Disclosures [Dkt. 4-24]. Between December 4 and 13, 2023, Removing

    Defendants deposed Drs. Goldberg, Bird, and Kumar. Each expert expressly disclaimed having

    any causation opinion with respect to Publix. Dr. Goldberg testified:

           Q:      Dr. Simmons, are you offering any opinions in this case with respect to any
                   action or inaction by Publix Super Markets?

           A:      No, I am not.

           Q:      Have you formed any such opinions?

           A:      I have not.

    Goldberg Dep. at 246:15–20 [Dkt. 1-3].

           Dr. Bird testified:

           Q:      Are you offering any opinions in this case with respect to any action or
                   inaction by Publix Supermarkets?

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            A:      No, I am not.

            Q:      You have formed any such opinions?

            A:      I have not.

    Bird Dep. at 230:5–11 (Ex. 1).

            And Dr. Kumar testified:

            Q:      What opinions are you offering with respect to Publix Super Markets?

            A:      None. None from the customer service or any such thing. I—no, not
                    specifically at all.

    Kumar Dep. at 446:14–17 (Ex. 2). The Removing Defendants then re-removed the case on

    December 14, 2023, within thirty (30) days of Dr. Kumar’s deposition.

    III.    ARGUMENT

            Publix is fraudulently joined and its citizenship should be ignored. Although Plaintiff may

    have pled a viable state court negligence claim against Publix for “negligence in shipping,

    transporting, distributing, and storing OTC Zantac,” see Fourth Am. Compl. ¶ 262, he cannot

    possibly succeed on that claim because with his discovery now complete, he has no evidentiary

    support for the negligence claim against Publix.

            A.      Legal Standard

            As the Eleventh Circuit has explained, the “removal process was created by Congress to

    protect defendants. Congress did not extend such protection with one hand, and with the other

    give plaintiffs a bag of tricks to overcome it. . . . Federal courts . . . should be equally vigilant to

    protect the right to proceed in the Federal court.” Legg v. Wyeth, 428 F.3d 1317, 1325 (11th Cir.

    2005) (citations and quotation marks omitted). “Fraudulent joinder is a judicially created doctrine

    that provides an exception to the requirement of complete diversity.” Triggs v. John Crump

    Toyota, Inc., 154 F.3d 1284, 1287 (11th Cir. 1998). A non-diverse defendant is fraudulently joined


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    where there is no “possibility, based on this record, that [the plaintiff] can establish a cause of

    action . . . against” that defendant. Legg, 428 F.3d at 1324. As an alternative basis for fraudulent

    joinder, courts consider whether—even if a claim theoretically might have merit—the plaintiff has

    a “real intention to get a [] judgment” against the non-diverse party. Triggs, 154 F.3d at 1291;

    Long v. Wyeth, 2003 WL 25548421, at *2 (M.D. Fla. May 13, 2003) (“Celltech Pharmaceuticals

    is a sham defendant in this action and has been fraudulently joined because [plaintiffs] do not

    ‘inten[d]’ to pursue a judgment.” (citing Triggs, 154 F.3d at 1291)).

           When a claim of fraudulent joinder is “based on lack of evidence, a plaintiff . . . must be

    able to provide some showing that her claim against the [non-diverse] defendant has evidentiary

    support.” Sellers v. Foremost Ins. Co., 924 F. Supp. 1116, 1119 (M.D. Ala. 1996). In those

    circumstances, the process “for resolving a claim of fraudulent joinder is similar to that used for

    ruling on a motion for summary judgment.” Legg, 428 F.3d at 1322–23; Illoominate Media, Inc.

    v. CAIR Fla., Inc., 841 F. App’x 132, 135 (11th Cir. 2020) (same). That determination is “based

    upon the plaintiff’s pleadings at the time of removal, supplemented by any affidavits and

    deposition transcripts submitted by the parties.” Legg, 428 F.3d at 1322 (emphasis in original;

    citation omitted). Thus, when a defendant presents evidence supporting a finding of fraudulent

    joinder, “the plaintiff generally must come forward with some evidence to dispute [it].” Shannon

    v. Albertelli Firm, P.C., 610 F. App’x 866, 871 (11th Cir. 2015); Fowler v. Wyeth, 2004 WL

    3704897, at *4 (N.D. Fla. May 14, 2004) (“Once [defendant] presented [evidence] to the Court,

    Plaintiffs could not continue to rely upon their unsupported allegations in the complaint. Plaintiffs

    had to put forward specific evidence to refute [defendant’s evidence].” (citation omitted)).

           B.      Plaintiff Has No Possibility of Recovering Against Publix Based on the Record

           Plaintiff has no possibility of prevailing against Publix because he has no evidence

    whatsoever that Publix’s negligence caused Decedent’s injury.
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           Florida law requires expert testimony to prove causation in cases like this, “where a jury is

    asked to assess complex medical or scientific issues outside the scope of a layperson’s knowledge.”

    McCasland v. Pro Guard Coatings, Inc., 799 F. App’x 731, 733 (11th Cir. 2020) (addressing

    Florida law); id. at 733–34 (affirming summary judgment for defendant manufacturer, including

    on negligence claim, because plaintiff “failed to offer any expert testimony to establish . . . that

    [the product] did in fact cause his medical condition”). 5 Yet Plaintiff’s experts affirmatively

    disclaimed having any causation opinions with respect to Publix. See supra pp. 4–5. He therefore

    has no expert to testify that Publix’s alleged negligence caused Decedent’s injuries: no expert

    opines that Publix’s negligence caused NDMA to form in the Zantac that Decedent allegedly

    ingested, and no expert opines that, as a result of Publix’s negligence, NDMA was formed in

    sufficient quantity to cause her cancer. Without that expert testimony, Plaintiff cannot establish a

    negligence claim against Publix. See, e.g., Webster v. Martin Mem’l Med. Ctr., Inc., 2009 WL

    7770772 (Fla. Cir. Ct. May 14, 2009) (granting summary judgment because “Plaintiffs’ own

    experts’ testimony shows that they simply cannot prove the causation element of this case”);

    Marking, 2002 WL 32255405, at *3 (“Summary judgment has been granted when . . . the plaintiff

    is left with no expert on which to rely for medical causation.”).

           Nor does Plaintiff have any evidence that Publix negligently stored or transported the

    ranitidine that Decedent actually used. Plaintiff failed to take any case-specific discovery of

    Publix, see infra p. 12–13, and as such, presented no such evidence in support of his remand


    5
      See also, e.g., Marking v. Novartis Pharms. Corp., 2002 WL 32255405, at *3 (S.D. Fla. Feb. 12,
    2002) (“Plaintiffs are required to introduce expert testimony to establish medical causation.”)
    (applying Florida law); Marshick v. Johnson & Johnson, 2015 WL 9266955, at *4 (M.D. Fla. Dec.
    11, 2015) (“[Plaintiff] must have expert testimony on medical causation or her claims will fail.”)
    (applying Florida law); Russell v. Beddow, 82 So. 3d 996, 998 (Fla. 1st DCA 2011) (explaining
    that expert proof is required when the cause of the plaintiff’s injury is “not within the province of
    the jury” (quotation marks and citation omitted)).

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    motion. Without any evidence supporting his liability theory against Publix—expert or

    otherwise—Plaintiff cannot possibly recover against Publix. Plaintiff’s reliance on the Zantac,

    Fransas, and Waters cases—cited at Mot. at 7, 8—misses the mark. Those cases assessed whether

    the plaintiffs pled a viable action against the retailers. This case is very different: the Removing

    Defendants do not contend that Plaintiff has insufficiently pled his storage and transport claim.

    The issue is whether Plaintiff can recover on that claim when he has adduced no evidence of

    Publix’s negligence after discovery has concluded in his state court action. He cannot.

            Plaintiff nevertheless argues that he can proceed against Publix without experts because

    Publix is “passively or vicariously liable as a seller in the stream of commerce.” Mot. at 8, 20.

    This argument fails for two reasons. First, Plaintiff did not bring a claim against Publix based on

    its role in the chain of distribution. Although Decedent originally asserted a claim for strict liability

    against Publix, see Mot. at 13 and Compl. ¶¶ 151–156 [Dkt. 1-4], Plaintiff dropped that claim in

    the Third Amended Complaint, see Mot. at 13–14 and Third Am. Compl. [Dkt. 4-15]. The

    operative Fourth Amended Complaint instead asserts a specific type of negligence claim against

    Publix: that the retailer improperly stored and transported Zantac despite knowing the drug can

    degrade into NDMA in hot and humid conditions. See supra p. 3. On its face, this claim is based

    on allegations of active negligence on Publix’s part, not that Publix passively participated in the

    chain of distribution. At this advanced stage in the case, Plaintiff cannot fall back on the different

    and never-pled theory that Publix’s status as part of the chain of distribution renders it strictly

    liable. See, e.g., Michael H. Bloom, P.A. v. Dorta-Duque, 743 So. 2d 1202, 1203 (Fla. 3d DCA




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    1999) (“It is well settled that a defendant cannot be found liable under a theory that was not

    specifically pled.”). 6

            Second, in Florida, a claim for negligence against a retailer “requires . . . proof of fault.”

    Carter v. Hector Supply Co., 128 So. 2d 390, 393 (Fla. 1961). “[A] retailer could be held liable

    . . . in a negligence action . . . only if the retailer could be charged with actual or implied knowledge

    of the defect.” Id. at 392 (emphasis omitted). 7 The time for Plaintiff to develop proof of actual or

    constructive knowledge was in discovery; the time to present it was with the remand motion. See,

    e.g., Omni Nat’l Bank v. Nations Title Agency, Inc., 2006 WL 8433532, at *1 (N.D. Ga. Sept. 5,

    2006) (denying remand where “Plaintiff has offered no evidence to rebut” the defendant’s evidence

    establishing fraudulent joinder). 8 Plaintiff has supplied no such proof.

            The single case Plaintiff cites does not support his argument that Florida allows negligence

    claims based merely on participation in the chain of distribution. In K-Mart Corp. v. Chairs, Inc.,

    506 So. 2d 7, 9 & n.2 (Fla. 5th DCA 1987)—cited at Mot. at 8—after a jury returned a verdict

    against the retailer based on theories of strict liability and implied warranty, the retailer brought


    6
      See also, e.g., Wilson v. Jacks, 310 So. 3d 545, 547 (Fla. 1st DCA 2021) (“[T]here is a substantial
    body of case law . . . determining that issues and claims not specifically pleaded in a party’s
    complaint or answer cannot be considered by a trial court reviewing a summary judgment motion.”
    (citing cases)); CH2M Hill Se., Inc. v. Pinellas Cnty., 598 So. 2d 85, 88 (Fla. 2d DCA 1992) (mem.)
    (“A plaintiff may not recover damages on a theory of liability not pled.”).
    7
      See also, e.g., Jackson v. H.L. Bouton Co., 630 So. 2d 1173, 1176 (Fla. 1st DCA 1994) (“One
    measure of the duty element of a negligence cause of action is the defendant’s actual or implied
    knowledge of a defect in items it has produced or sold.”); Ryan v. Atl. Fertilizer & Chem. Co., 515
    So. 2d 324, 326 (Fla. 3d DCA 1987) (“It is well settled law that a retailer can be liable in negligence
    in a products liability action only if the retailer can be charged with actual or implied knowledge
    of the defect.”).
    8
      See also, e.g., Shannon, 610 F. App’x at 871 (affirming district court’s decision not to consider
    evidence supporting joinder of non-diverse defendant because it was submitted “for the first time
    in a motion for reconsideration after judgment was entered”); Whitehead ex. rel. Brooks v.
    Southerland, Inc., 2023 WL 2766012, at *6 (N.D. Ga. Mar. 31, 2023) (rejecting plaintiffs’ request
    for “more discovery to uncover additional evidence in support of their remand motion . . . [given]
    the extensive discovery that was [already] taken during the original action”).

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    common law and contractual indemnification and statutory contribution claims against the

    manufacturer. The case did not involve a negligence claim at all, let alone a direct claim asserted

    by a plaintiff against a retailer.

            C.      Plaintiff Has No Intent to Prosecute His Claim Against Publix

            Publix is also fraudulently joined because Plaintiff has no real intent to pursue his

    negligence claim against it. See In re Briscoe, 448 F.3d 201, 216 (3d Cir. 2006) (“[J]oinder is

    fraudulent if there is . . . no real intention in good faith to prosecute the action against the

    defendant.” (quotation marks and citation omitted)). This basis for fraudulent joinder does not rest

    on the merits of the claim, i.e., whether the plaintiff could theoretically recover against the non-

    diverse defendant. Instead, under this alternative theory, courts will find fraudulent joinder

    “[w]here the plaintiff’s collective litigation actions, viewed objectively, clearly demonstrate a lack

    of good faith intention to pursue a claim to judgment against a non-diverse defendant.” Faulk v.

    Husqvarna Consumer Outdoor Prods. N.A., Inc., 849 F. Supp. 2d 1327, 1331 (M.D. Ala. 2012);

    In re Briscoe, 448 F.3d at 219 (courts can “look[] beyond the allegations” to see whether a

    plaintiff’s conduct is “consistent with an intention to actually proceed” against the non-diverse

    defendant (quotation marks and citation omitted)). Several district courts in this Circuit have

    recognized this no-intent-to-prosecute theory. See, e.g., Long, 2003 WL 25548421, at *2 (finding

    fraudulent joinder “because [plaintiffs] do not ‘inten[d]’ to pursue a judgment” (citing Triggs, 154

    F.3d at 1291)); Faulk, 849 F. Supp. 2d at 1331 (“[T]he Court also finds that remand is unwarranted

    because Plaintiff lacks a good faith intention to pursue his claims against [the non-diverse

    defendant].”). Although the Eleventh Circuit has yet to adopt this basis for fraudulent joinder, it

    has suggested that it would, stating in Triggs that the “plaintiff’s motivation for joining a defendant

    is not important as long as the plaintiff has the intent to pursue a judgment against the

    defendant.” Triggs, 154 F.3d at 1291 (emphasis added).
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           Here, Plaintiff has made no genuine effort to prosecute his claim against Publix. Most

    critically, Plaintiff has not proffered any expert to testify as to Publix’s negligence, a legal

    prerequisite to prevailing on his claim. See supra pp. 7–10. The failure to even attempt to supply

    viable expert testimony to support claims against Publix is stark evidence of Plaintiff’s lack of

    intent to prosecute those claims to judgment. Cf. Davis v. Merck & Co., 357 F. Supp. 2d 974, 979

    (E.D. Tex. 2005) (upholding removal and concluding that plaintiff’s failure to file an expert report

    “leads to the conclusions that she never intended to pursue . . . her claims against [the non-diverse

    defendant]”).

           Nor has Plaintiff taken meaningful fact discovery of Publix relevant to his negligent storage

    and transport claim. In determining intent, courts frequently look at the extent to which plaintiff

    has sought discovery as to the non-diverse defendant. 9 Here, Plaintiff served a single set of

    interrogatories and document requests, which Publix answered by producing no documents and

    instead referring to materials produced in this MDL.

           Acknowledging he did nothing in this case, Plaintiff argues that it was sufficient to rely on

    MDL discovery of Publix, see Mot. at 10, but this bald assertion lacks any explanation or support.

    Critically, Plaintiff does not explain how the MDL discovery remedies his failure to adduce expert

    proof against Publix in this case. For example, in a single sentence, Plaintiff asserts that “Publix


    9
      See, e.g., In re Avandia Mktg., Sales Pracs. & Prods. Liab. Litig., 2014 WL 2011597, at *3 (E.D.
    Pa. May 15, 2014) (finding plaintiffs had no intent to pursue judgment against non-diverse
    defendant where plaintiffs failed to “conduct sufficient discovery to establish that individual
    plaintiffs had used [the product] distributed by [the non-diverse defendant]”); In re Zoloft
    (Sertraline Hydrochloride) Prods. Liab. Litig., 257 F. Supp. 3d 717, 720–21 (E.D. Pa. 2017)
    (denying remand where none of the plaintiffs “propounded meaningful discovery on [non-
    diverse]” distributor); In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods.
    Liab. Litig., 220 F. Supp. 2d 414, 421 (E.D. Pa. 2002) (denying remand where “no depositions of
    any witnesses affiliated with [non-diverse] defendant [were] taken”); Bennett v. Ford Motor Co.,
    2007 WL 4561281, at *3 (W.D. Ky. Dec. 21, 2007) (denying remand where “[t]he record reveals
    little attempt, if any, to develop a case against [the non-diverse defendant]”).

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    produced a corporate witness, Kevin Routh, to testify on issues of topics of distribution and storage

    in the Zantac MDL case.” Mot. at 15. However, Plaintiff did not attach Mr. Routh’s deposition

    transcript or cite to any specific testimony, did not explain how the testimony is relevant to

    Plaintiff’s claim, and did not explain how the testimony dispenses of the need to produce expert

    evidence against Publix.

           To be clear, the MDL discovery that Plaintiff seeks to rely upon failed to establish a viable

    negligent storage and transport claim before this Court. In this MDL, the plaintiffs’ leadership

    filed a master complaint, which among other things, asserted a negligent storage and transport

    claim against various retailer defendants. This Court dismissed that claim, expressing skepticism

    about whether plaintiffs could “plead in good faith that any Defendant had a policy to store

    ranitidine products at temperatures above those approved by the FDA” and noting that whether

    “individual stores negligently stored ranitidine at unsafe, heated temperatures . . . [is an]

    individualized and fact-specific” inquiry. In re Zantac (Ranitidine) Prods. Liab. Litig., 510 F.

    Supp. 3d 1234, 1256 (S.D. Fla. 2020) (last emphasis added). The MDL plaintiffs attempted to re-

    plead that claim, and after an opportunity for discovery, this Court dismissed the negligence claim

    again. Because “it is lawful for a room-temperature drug to be subject to elevated temperatures,

    within certain limitations,” general allegations that a retailer failed to control the temperature of

    ranitidine shipments could not “plausibly suggest[] a Defendant violated a duty of care.” In re

    Zantac (Ranitidine) Prods. Liab. Litig., 2021 WL 2685605, at *8 (S.D. Fla. June 30, 2021). Nor

    did the MDL plaintiffs plead any individualized facts, such as a claim that “one-off trucks or retail

    stores” improperly shipped or stored ranitidine. Id.

           Here too, Plaintiff failed to develop any such individualized evidence. Plaintiff’s one set

    of written discovery served on Publix, see Mot. at 14, did not seek information about the



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    “individual stores” where Decedent allegedly purchased ranitidine. For example, it did not ask for

    information about the individual stores’ storage conditions or the conditions in trucks used to

    supply those stores. Plaintiff’s failure to lift a finger in discovery to develop the negligent storage

    and transport claim beyond the failed MDL record strongly supports a finding that he had no real

    intent to prosecute his claim against Publix. 10

           Finally, Plaintiff’s voluntary dismissal of the other, diverse retailers further evinces

    Plaintiff’s lack of intent to prosecute a claim against Publix. Decedent claimed that she purchased

    Zantac from four different retailers: Publix, CVS, Walgreens, and Wal-Mart. See supra p. 3. Yet

    Plaintiff dismissed identical negligence claims against the three diverse retailers CVS, Walgreens,

    and Wal-Mart, see supra p. 3, leaving only non-diverse Publix. This underscores that Plaintiff has

    no real interest in obtaining a judgment against the retailers who sold ranitidine to Decedent, but

    maintained Publix as a defendant in the action only as a blatant attempt to defeat federal

    jurisdiction. There is no other explanation for Plaintiff’s actions, and Plaintiff provides none.

           D.      The Removal Is Timely

                   1.      The One-Year Bar on Removals Does Not Apply

           The one-year bar on removals does not apply because Plaintiff “has acted in bad faith in

    order to prevent [] defendant[s] from removing the action.” 28 U.S.C. § 1446(c)(1). Plaintiff

    maintained the pretense of a claim against Publix for more than a year to prevent removal. Only

    after the close of fact discovery (where Plaintiff took no case-specific discovery of Publix) and


    10
       Plaintiff also points to Publix’s filing of “answers to the Third and Fourth Amended
    Complaints,” Publix’s response to Removing Defendants’ discovery, and Publix’s attendance at
    various depositions as evidence that he pursued his claims against Publix. See Mot. at 13–15. That
    does not demonstrate Plaintiff’s intent to prosecute his negligence claim against Publix; it shows
    Publix’s necessary efforts to defend itself against Plaintiff’s nominal claim. For the same reasons,
    the Removing Defendants’ request for written discovery on Publix, see Mot. at 14 and [Dkt. 4-23],
    does not establish Plaintiff’s intent to prosecute his negligence claim against Publix.

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    after the Removing Defendants completed the depositions of Plaintiff’s experts (where the experts

    disclaimed having any opinion as to Publix) could the Removing Defendants prove fraudulent

    joinder. This is exactly the situation the “bad faith” exception was meant to address.

            To assess whether a plaintiff acted in bad faith, courts apply a two-step test. First, the

    court considers whether the plaintiff has “actively litigated against the removal-spoiling defendant

    . . . [e.g.,] taking discovery, negotiating settlement, seeking default judgments . . . . If the plaintiff

    did not actively litigate against the removal spoiler, then bad faith is established; if the plaintiff

    actively litigated against the removal spoiler, then good faith is rebuttably presumed.” Holland v.

    CSX Transp., Inc., 2021 WL 4448305, at *3 (S.D. W.Va. Sept. 28, 2021) (citing Aguayo v. AMCO

    Ins. Co., 59 F. Supp. 3d 1225, 1263 (D.N.M. 2014)).

            Here, the Court can easily presume bad faith based on Plaintiff’s failure to prosecute his

    claim against Publix. See supra pp. 11–13. Plaintiff failed to submit any expert testimony

    whatsoever to support the claim, and failed to conduct any case-specific discovery. The recent

    decision in the Roundup litigation is instructive. See 11/8/2023 Order Denying Mot. to Remand,

    In re Roundup Prods. Liab. Litig. (Mistich), MDL No. 2741 (N.D. Cal. Nov. 8, 2023) [Dkt. 1-5].

    There, the plaintiffs served the non-diverse defendant “with requests for admissions,

    interrogatories, and requests for production,” but when the defendant failed to respond, the

    plaintiffs—like Plaintiff here—“never meaningfully followed up.” Id. at *2. Nor did the plaintiffs

    attempt to depose the non-diverse defendant. Id. at *3. On these facts, the court found fraudulent

    joinder and declined to apply the one-year bar for removal. Id. 11



    11
      See also, e.g., Keller Logistics Grp., Inc. v. Navistar, Inc., 391 F. Supp. 3d 774, 779-80 (N.D.
    Ohio 2019) (finding bad faith where the plaintiff served voluminous discovery on the diverse
    defendant but only minimal discovery on the non-diverse defendant); McNeal v. Found. Radiology
    Grp., P.C., 2022 WL 3010694, at *3 (E.D. Mich. July 29, 2022) (finding bad faith where “Plaintiff
    took little discovery from [the non-diverse defendant] and the discovery that he did take focused
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           Second, even if there is some active litigation against the non-diverse defendant, the

    defendant can still “rebut the good-faith presumption with direct evidence of the plaintiff’s

    subjective bad faith.” Holland, 2021 WL 4448305, at *3 (citing Aguayo, 59 F. Supp. 3d at 1263).

    The record here presents direct evidence of bad faith. Plaintiff voluntarily dismissed retailers CVS,

    Walgreens, and Wal-Mart, even though they were situated identically to Publix in this case, save

    for their citizenship. See supra p. 3. Leaving Publix as the sole diversity-destroying defendant

    under these circumstances is a red flag signaling bad faith. The “bad faith” exception to the one-

    year removal bar accordingly applies.

           Ingram v. Forbes Co., 2013 WL 1760202 (M.D. Fla. Apr. 24, 2013), does not support

    Plaintiff’s untimeliness argument. Mot. at 8-9. In that case, the defendants argued that the store

    manager in a slip-and-fall case was fraudulently joined. Ingram, 2013 WL 1760202, at *3.

    However, the “manager was an employee of one of the Defendants and it was likely within

    Defendants’ knowledge whether she had any personal participation in Plaintiff’s alleged injury.”

    Id. On those facts, where defendants could have ascertained removability earlier, “principles of

    equity favor[ed] remand.” Id. That is a far cry from the facts here. Whether Plaintiff chose to

    develop fact or expert evidence to prosecute his claim is wholly outside the Removing Defendants’

    control. The Removing Defendants removed this case as soon as the record became clear that




    almost exclusively on [another defendant’s] conduct”); Bennett, 2007 WL 4561281, at *3 (the one-
    year bar on removal does not apply, because plaintiffs failed to “put forth any facts supporting the
    claim against the nondiverse defendant”); Cousins v. Wyeth Pharm., Inc., 2008 WL 1883932, at
    *2 (N.D. Tex. Apr. 18, 2008) (equitably tolling the one-year deadline, because the plaintiff
    “ignored a statute requiring her to serve expert reports against the nondiverse defendants”); In re
    Propulsid Prods. Liab. Litig., 2007 WL 1668752, at *1 (E.D. La. June 6, 2007) (refusing to apply
    the one-year bar, because plaintiff had “served no discovery on [the non-diverse defendants], none
    of their depositions were ever taken, and the Plaintiff never identified any experts to offer opinions
    again[st] them”).

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    Plaintiff could not possibly meet his burden of proof against Publix, and could not have removed

    this case any earlier.

                    2.       The Removal Was Timely Filed Within 30 Days of Plaintiff’s Experts’
                             Depositions

            The Removing Defendants timely removed this action “within thirty days after receipt . . .

    of a copy of an . . . other paper from which it may first be ascertained that the case is one which is

    or has become removable.” 28 U.S.C. § 1446(b)(3). The last of Plaintiff’s causation experts, Dr.

    Kumar, was deposed on December 13, 2023. At that deposition, Dr. Kumar was asked if he had

    any opinion as to Publix, and he replied “[n]one.” See supra p. 5. The case became removable at

    that point, and the Removing Defendants removed the case within thirty (30) days of that

    deposition.

            Plaintiff argues that the removal was two weeks too late, because the Removing Defendants

    should have known at the time of expert disclosures (on November 1, 2023) that no opinions were

    being offered as to Publix. Mot. at 15. But the Removing Defendants could not establish there

    was “no possibility” of an opinion implicating Publix—the level of certainty needed for removal—

    until expert depositions were taken. Unlike in federal court, Florida state courts do not strictly

    hold experts to the four corners of their reports but permit supplementation with deposition

    testimony. For example, in Klose v. Coastal Emergency Services of Fort Lauderdale, Inc., the

    trial court excluded plaintiff’s expert from testifying as to the alleged breach of care during a

    bronchoscopy procedure, which was not disclosed prior to the expert’s deposition. 673 So. 2d 81,

    83 (Fla. 4th DCA 1996). The Fourth District Court of Appeal reversed after a full trial because




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    the expert “was nevertheless deposed on his opinion of the breach of the standard of care during

    the bronchoscopy.” Id. 12

           In fact, to avoid exactly this sort of supplementation-by-testimony, the Removing

    Defendants proposed to Plaintiff in April 2023 that each side serve federal-style expert reports that

    contain “a complete statement of all opinions the witness will express and the basis and reasons

    for them; [and] the facts or data considered by the witness in forming them,” and that to the extent

    disputes about their adequacy arise, “the body of case law under FRCP 26(a)(2)(B) will apply.”

    4/12/2023 e-mail from K. Marshall to S. Resnick (Ex. 3) (emphasis added). Plaintiff rejected the

    proposal.   See 4/13/2023 e-mail from S. Resnick to K. Marshall (Ex 3).                Plaintiff’s own

    unwillingness to agree to the application of federal law to the adequacy of expert reports thus made

    it impossible for the Removing Defendants to know the full scope of Plaintiff’s expert opinions

    until their depositions concluded in December 2023. Plaintiff’s disclosure of experts, accordingly,

    did not trigger removal.

           E.      The Removing Defendants’ Prior Removal Does Not Preclude a Second
                   Removal

           Plaintiff is wrong that the Removing Defendants’ prior removal—and agreement to

    remand—has res judicata effect and bars a second removal.               Mot. at 4–6.      Courts have

    “recognize[d] a defendant’s right to seek subsequent removals after remand” as long as the

    subsequent removal is not based “on the same ground” as the original removal and remand. S.W.S.


    12
      See also, e.g., Ganey v. Goodings Million Dollar Midway, Inc., 360 So. 2d 62, 63 (Fla. 1st DCA
    1978) (rejecting defendant’s argument that it was “surprised by the [expert’s] trial testimony of
    permanent disability because at no time during pretrial discovery did the [expert] indicate or imply
    that [plaintiff] suffered a permanent disability”; plaintiff “alleged in her complaint that her injuries
    were permanent” and defendant therefore should have asked “during the deposition . . . if [plaintiff]
    suffered a permanent disability”); Wax v. Tenet Health Sys. Hosps., Inc., 955 So. 2d 1, 4 (Fla. 1st
    DCA 2006) (“We do not think that these designations of the substance of testimony in pretrial
    notices of experts should be subjected to literalistic, mechanical or crabbed readings.”).

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    Erectors, Inc. v. Infax, Inc., 72 F.3d 489, 492 (5th Cir. 1996) (citation omitted; emphasis in

    original). This prohibition on removals based on the same ground “does not concern the theory

    on which federal jurisdiction exists (i.e., federal question or diversity jurisdiction), but rather the

    pleading or event that made the case removable.” Watson v. Carnival Corp., 436 F. App’x 954,

    956 (11th Cir. 2011) (emphasis added) (citing S.W.S. Erectors, 72 F.3d at 492).

           Here, this second removal is unquestionably based on different theories, events and facts.

    The first removal was based on the argument that Publix was fraudulently joined because, on the

    face of the pleadings, the strict liability claim asserted against Publix was preempted. See supra

    p. 2. This removal—as Plaintiff acknowledges, see Mot. at 5—has nothing to do with preemption.

    Nor is it based just on the face of the Complaint. It is instead based on Plaintiff’s complete failure

    to adduce evidence to support a negligent storage and transport claim against Publix after full

    opportunity for discovery. This removal was therefore triggered by a different “pleading or event,”

    namely, the depositions of Plaintiff’s experts who disclaimed having any opinion as to Publix. The

    first removal, accordingly, does not preclude federal jurisdiction now.

           The cases Plaintiff cite are not to the contrary. In Crum v. Hankook Manufacturing Co.,

    defendants removed the case based on the retailer’s denial (in responses to requests for admissions)

    that it sold or serviced the defective product. 2020 WL 8465442, at *5 (S.D. Ala. Dec. 28, 2020).

    Plaintiffs moved to remand and, among other things, submitted an invoice to rebut the retailer’s

    denial. Id. When defendants removed the case again based on the retailer’s denial (this time, in

    interrogatory responses) that it sold or serviced the product, the court concluded that the second

    removal was barred: “[The retailer’s] interrogatory responses . . . do not provide any new material

    facts, instead substantially repeating what they already said in the requests-for-admission




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    responses considered in the [first removal].” Id. By contrast, here, the removals are based on

    completely different legal theories and facts.

           Plaintiff’s citation to S.W.S Erectors v. Infax, Inc., 72 F.3d 489, 491 (5th Cir. 1996),

    supports removal. In that case, the Fifth Circuit concluded that the trial court had properly denied

    remand, because the second removal “use[d] newly acquired facts from [plaintiff’s] deposition

    transcript. The deposition constitute[d] a new paper or event that changed the facts regarding the

    removableness of the case.” Id. at 494. 13 So too here. The depositions of Plaintiff’s experts—

    who all disclaimed having any opinion as to Publix—supplied the new facts to make this case

    removable.

           F.      Attorneys’ Fees and Costs Are Not Warranted Because the Removing
                   Defendants Had an Objectively Reasonable Basis to Remove

           There is no basis to award fees and costs here. As explained above, the Removing

    Defendants’ jurisdictional arguments are meritorious. Even if the Court disagrees, they are at bare

    minimum “objectively reasonable.” Martin v. Franklin Cap. Corp., 546 U.S. 132, 141 (2005); see

    supra pp. 6–15 (discussing case law to support a finding that Publix is fraudulently joined). The

    Court should accordingly deny the request for fees and costs.

    IV.    CONCLUSION

           The Court should deny Plaintiff’s Motion to Remand and request for fees and costs.



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       See also, e.g., Dominguez v. Peek, 2010 WL 1658550, at *4 (S.D. Ala. Apr. 16, 2010), rep. &
    recommendation adopted, 2010 WL 1851617 (May 5, 2010) (“[W]hile this case was previously
    removed on the same theory, diversity jurisdiction, the grounds are different . . . [The removals
    are] based on different facts.”); Sudduth v. Equitable Life Assurance Soc’y, 2007 WL 2460758, at
    *4 (S.D. Ala. Aug. 27, 2007) (“[S]ection 1446(b) allows [a defendant] to file successive removals
    based on [a] different factual basis . . . . This is precisely the situation here.” (quotation marks and
    citation omitted)); Green v. R.J. Reynolds Tobacco Co., 2000 WL 33993335, at *8 (S.D. Tex. Aug.
    17, 2000), aff’d, 274 F.3d 263 (5th Cir. 2001) (“This court finds that a second, subsequent, removal
    petition is permissible under the circumstances arising in the case at bar.”).

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                                       Respectfully submitted,

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                                           CERTIFICATE OF SERVICE

            I hereby certify that on this 9th day of February, 2024, the foregoing was filed electronically

    through the Court’s CM/ECF system, which will send notice of filing to all CM/ECF participants.

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